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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

EBONY APPLING,

Plaintiff,

v.

ROBB PITTS, LIZ HAUSMANN,             CIVIL ACTION FILE NO.:
BOB ELLIS, LEE MORRIS,
                                      _________________________
NATALIE HALL, MARVIN S.
ARRINGTON, JR., and KHADIJAH
ABDUR-RAHMAN in their individual
and official capacities as members of
the Fulton County Board of
Commissioners; KENNETH L.
HERMON, JR. in his individual and
official capacities; PATRICK “PAT”
LABAT in his official and individual
capacities; and FULTON COUNTY,
GEORGIA.
Defendants.


             DEFENDANT BOB ELLIS’ NOTICE OF REMOVAL

TO THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA:

      Pursuant to 28 U.S.C. §§ 1331, 1441, 1443, 1446 et seq., and Fed. R. Civ. P.

81(c), Defendant Bob Ellis by and through his undersigned counsel, hereby gives

notice of removal of this action from the Superior Court of Fulton County, Georgia



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to the United States District Court for the Northern District of Georgia, Atlanta

Division. Reserving any and all rights, objections, defenses, immunities, and

exceptions, to the extent required, Defendant Ellis respectfully shows the following

grounds for removal:

                                         1.

      On November 1, 2021, Plaintiff filed Amended Verified Complaint for

Declaratory Judgment, Preliminary and Permanent Injunctive Relief, and

Application for Writ of Mandamus and Prohibition (“Amended Complaint”),

naming in the caption of the Amended Complaint: Robb Pitts, Liz Hausmann, Bob

Ellis, Lee Morris, Natalie Hall, Marvin S. Arrington, Jr., Khadijah Abdur-Rahman,

Kenneth L. Hermon, Jr., Patrick “Pat” Labat and Fulton County, Georgia in Fulton

County Superior Court, Civil Action File No. 2020-CV-337309 (“the Lawsuit”).

                                          2.

      Defendant Ellis has not been served a summons or with a copy of the Lawsuit,

but acknowledges receipt by his counsel at the time of filing of the Amended

Complaint on November 1, 2021, which is the first time he was added as a party. A

true and correct copy of the Amended Complaint is attached hereto as “Exhibit A,”

and the complete docket of filings as of this time, are attached hereto as “Exhibit

B.”


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                                           3.

      The Amended Complaint alleges, inter alia, that Plaintiff’s due process rights

under the Fourteenth Amendment of the United States Constitution were violated.

Plaintiff has invoked the right to sue under 42 U.S.C. §1983. [Amended Compl. at ¶

2]. Plaintiff also brings various state law claims including due process claims under

the Georgia Constitution, petition for writs of mandamus and prohibition, claims of

breach of contract and interference with contract, all in an effort to reverse her

termination and the 2019 changes to the Civil Service Act made by the Fulton

County Board of Commissioners. These state law claims would be within the

supplemental jurisdiction of this Court.

                                           4.

      This Court has original jurisdiction of this case pursuant to 28 U.S.C. §

1343(3).    Accordingly, removal of this action is proper pursuant to 28 U.S.C. §

1441(a), which provides that “[a]ny action of which the district courts have original

jurisdiction founded on a claim or right arising under the Constitution, treaties or

laws of the Unites States shall be removable regardless of the citizenship or residence

of the parties.”


                                           5.

      Removal must occur prior to the expiration of the thirty-day removal period


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provided in 28 U.S.C. § 1446(a). Based on the Lawsuit commencing against

Defendant Ellis on November 1, 2021 and receipt of the Lawsuit via his attorney on

the same day, this notice of removal is timely filed. See Jones v. Commonwealth

Land Title Ins. Co., 459 Fed. App’x 808, 810 (11th Cir. 2012)(citing Bailey v.

Janssen Pharmaceutica, Inc., 536 F.3d 1202, 1207-1209 (11th Cir. 2008)).

                                          6.

      The record in the Lawsuit reflects service has only been effected on

Defendants Kenneth L. Hermon, Jr. and Robb Pitts, and they consent to this removal.

Furthermore, all currently named defendants consent to this removal. Accordingly,

no other consent or authorization is required for removal.

                                       7.
      By reason of the foregoing, Defendant Ellis is entitled to remove this action

to this Court pursuant to 28 U.S.C. §§ 1331, 1441, 1443, and 1446.


      WHEREFORE, Defendant Ellis prays that this Notice of Removal be filed,

that this action be removed to proceed in this Court, and that no further proceedings

be had in Fulton County Superior Court, Civil Action File No. 2020-CV-337309.


      Respectfully submitted, this 8th day of November, 2021.

                                        OFFICE OF THE COUNTY ATTORNEY

                                        /s/Dominique A. Martinez
                                        Dominique A. Martinez


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                  NOTICE OF CONSENT TO REMOVAL

TO THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA:

Robb Pitts, Liz Hausmann, Lee Morris, Natalie Hall, Marvin S. Arrington, Jr.,

Khadijah Abdur-Rahman, Kenneth L. Hermon, Jr., Patrick “Pat” Labat and Fulton

County, Georgia hereby join and express consent to Defendant Bob Ellis’ Notice of

Removal and Ebony Appling’s civil action filed in Fulton County Superior Court,

Civil Action File No. 2020-CV-337309, proceeding in this Court.


      Respectfully submitted, this 8th day of November, 2021.



                                      OFFICE OF THE COUNTY ATTORNEY

                                      /s/Dominique A. Martinez
                                      Dominique A. Martinez
                                      Georgia Bar No. 430323
                                      Dominique.Martinez@fultoncountyga.gov
141 Pryor Street, S.W.                Attorney for: Robb Pitts, Bob Ellis, Liz
Suite 4038                            Hausmann, Lee Morris, Natalie Hall,
Atlanta, Georgia 30303                Marvin S. Arrington, Jr., Khadijah Abdur-
Telephone: (404) 612-0246             Rahman, Kenneth L. Hermon, Jr., Patrick
Facsimile: (404) 730-6324             “Pat” Labat and Fulton County, Georgia




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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
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EBONY APPLING,

Plaintiff,

v.

ROBB PITTS, LIZ HAUSMANN,             CIVIL ACTION FILE NO.:
BOB ELLIS, LEE MORRIS,
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NATALIE HALL, MARVIN S.
ARRINGTON, JR., and KHADIJAH
ABDUR-RAHMAN in their individual
and official capacities as members of
the Fulton County Board of
Commissioners; KENNETH L.
HERMON, JR. in his individual and
official capacities; PATRICK “PAT”
LABAT in his official and individual
capacities; and FULTON COUNTY,
GEORGIA.
Defendants.


             CERTIFICATE OF FONT TYPE, SIZE AND SERVICE

      THIS IS TO CERTIFY that on this day, I presented this document in Times

New Roman, 14 point type in accordance with L.R. 5.1(C) and that I served the

foregoing DEFENDANT BOB ELLIS’ NOTICE OF REMOVAL upon opposing

counsel, by emailing and depositing a copy of the same in the United States Mail

with adequate postage affixed thereon and addressed to:

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                                 Derek Jones
                               Meghan S. Jones
                           The Jones Law Firm, LLP
                           1269 Monroe Drive N.E.
                            Atlanta, Georgia 30306

this 8th day of November, 2021.

                                   /s/ Dominique A. Martinez
                                   Dominique A. Martinez
                                   Georgia Bar No. 430323
                                   Dominique.martinez@fultoncountyga.gov




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